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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
KEVIN M. EPSTEIN
UNITED STATES TRUSTEE
JAYSON B. RUFF
TRIAL ATTORNEY
515 RUSK, SUITE 3516
HOUSTON, TX 77002
Telephone: (713) 718-4650
Fax: (713) 718-4670
E-Mail: Jayson.B.Ruff@usdoj.gov



                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      VICTORIA DIVISION

IN RE:                                                §
 INFOW, LLC et al.                                    §         CASE NO. 22-60020
                                                      §
                                                      §         CHAPTER 11 (Subchapter V)
                                                      §         Jointly Administered
DEBTORS.1                                             §

      CORRECTED2 NOTICE OF APPOINTMENT OF SUBCHAPTER V TRUSTEE

       Pursuant to 11 U.S.C. § 1183(a), the United States Trustee has appointed the following
qualified individual as Subchapter V trustee in the above-captioned cases:

                                     MELISSA HASELDEN
                                    700 MILAM, SUITE 1300
                                      HOUSTON, TX 77002
                     Email: mhaselden@haseldenfarrow.com PH: 832-819-1149
       The trustee’s verified statement of disinterestedness and anticipated rate of compensation
is attached to this notice.




1 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no
EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-
1819.
2 The case number on the original Notice of Appointment filed at Dkt. No. 9 was incorrect. This corrected notice
is being filed to correct that error.
                                                          1
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Dated: April 18, 2022
                                              KEVIN M. EPSTEIN
                                              United States Trustee Region 7
                                              Southern and Western Districts of Texas

                                              By:     /s/ Jayson B. Ruff
                                                      Jayson B. Ruff
                                                      Trial Attorney
                                                      MI State Bar No. P69893
                                                      515 Rusk, Suite 3516
                                                      Houston, Texas 77002
                                                      Telephone: (713) 718-4650
                                                      Fax: (713) 718-4670
                                                      Jayson.B.Ruff@usdoj.gov



                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing CORRECTED NOTICE OF
APPOINTMENT OF SUBCHAPTER V TRUSTEE, was served upon the parties on the
attached list by United States Mail, first class, postage prepaid, and/or by electronic means for all
Pacer system participants on April 18, 2022.

                                              By:     /s/ Jayson B. Ruff
                                                      Jayson B. Ruff
                                                      Trial Attorney
                                                      MI State Bar No. P69893
                                                      515 Rusk, Suite 3516
                                                      Houston, Texas 77002
                                                      Telephone: (713) 718-4650
                                                      Fax: (713) 718-4670
                                                      Jayson.B.Ruff@usdoj.gov

By Mail to Debtors:

InfoW, LLC
PO Box 1819
Houston, TX 77251-1819

IWHealth, LLC
PO Box 1819
Houston, TX 77251-1819

Prison Planet TV, LLC
PO Box 1819
Houston, TX 77251-1819


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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION

IN RE:                                               §
 INFOW, LLC et al.                                   §        CASE NO. 22-60020
                                                     §
                                                     §        CHAPTER 11 (Subchapter V)
                                                     §        Jointly Administered
DEBTORS. 1                                           §

                   VERIFIED STATEMENT OF SUBCHAPTER V TRUSTEE

        In connection with the United States Trustee’s Notice of Appointment of me as

Subchapter V trustee in these proceedings, I hereby verify that I am a “disinterested person” as

defined by 11 U.S.C. §101(14) in that I:

                 (a)      am not a creditor, equity security holder or insider of the debtors;

                 (b)      am not, and was not, within two years before the date of filing of the
                          petition, a director, officer, or employee of the debtors; and

                 (c)      do not have an interest materially adverse to the interest of the estate or of
                          any class of creditors or equity security holders, by reason of any direct or
                          indirect relationship to, connection with, or interest in, the debtors, or for
                          any other reason.

        Subject to court approval pursuant to 11 U.S.C. § 330, I anticipate seeking compensation

for my service in these cases at an hourly rate of $450.00, in addition to seeking reimbursement

for any actual and necessary expenses I incur.

        I hereby accept my appointment as subchapter V trustee in these jointly administered

cases pursuant to FRBP 2008.




1
 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no
EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-
1819.

                                                         1
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Dated: April 18, 2022                      HASELDEN FARROW PLLC

                                           By:
                                           MELISSA A. HASELDEN
                                           State Bar No. 00794778
                                           700 Milam, Suite 1300
                                           Pennzoil Place
                                           Houston, Texas 77002
                                           Telephone: (832) 819-1149
                                           Facsimile: (866) 405-6038
                                           Email: mhaselden@haseldenfarrow.com




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